Case 3:11-cv-01056-MDD Document 82 Filed 03/26/14 PageID.572 Page 1 of 4



   BONNETT, FAIRBOURN, FRIEDMAN
 1 & BALINT, P.C.
   Elaine A. Ryan (Admitted pro hac vice)
 2 Patricia N. Syverson (203111)
   Lindsey Gomez-Gray (Admitted pro hac vice)
 3 2325 E. CAMELBACK ROAD, Suite 300
   Phoenix, AZ 85016
 4 eryan@bffb.com
   psyverson@bffb.com
 5 lgomez@bffb.com
   Tel: (602) 274-1100
 6 Fax: (602) 274-1199
 7 BONNETT, FAIRBOURN, FRIEDMAN
   & BALINT, P.C.
 8 Manfred P. Muecke (222893)
   600 W. Broadway, Suite 900
 9 San Diego, CA 92130
   mmeucke@bffb.com
10 Tel: (619) 756-7748
   Fax: (602) 274-1199
11
   STEWART M. WELTMAN LLC
12 Stewart M. Weltman (Admitted pro hac vice)
   53 W. Jackson, Suite 364
13 Chicago, IL 60604
   sweltman@weltmanlawfirm.com
14 Telephone: (312) 588-5033
15 [Additional Counsel Appear On Signature Page]
16 Attorneys for Plaintiffs
17                    UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
18
     LUIS LERMA, an Individual, and NICK Case No.: 3:11-CV-01056-CAB
19   PEARSON, an Individual, On Behalf of (MDD)
     Themselves and All Others Similarly
20   Situated,                             JOINT REQUEST FOR ORAL
                                           ARGUMENT
21             Plaintiffs,
                                           Hon. Cathy Ann Bencivengo
22        v.                               Magistrate Judge: Mitchell D. Dembin
23   SCHIFF NUTRITION
     INTERNATIONAL, INC., a Delaware
24   Corporation, and SCHIFF NUTRITION
     GROUP, INC., a Utah Corporation
25
                Defendants
26
27
28
                              JOINT REQUEST FOR ORAL ARGUMENT
Case 3:11-cv-01056-MDD Document 82 Filed 03/26/14 PageID.573 Page 2 of 4




 1        This matter was recently referred to this Court for a report and
 2 recommendation regarding preliminary approval for a class settlement. (Dkt. 78).
 3 Due to the recent referral, Plaintiffs filed their Unopposed Motion for Preliminary
 4 Approval of Settlement with this Court on March 25, 2014 prior to receiving a
 5 hearing date for that motion. (Dkt. 81). Given the nature of the motion at issue
 6 and further given that the parties are concurrently filing their consent to have the
 7 entirety of this matter referred to this Court, the parties hereby jointly request an
 8 in-person hearing on the Unopposed Motion for Preliminary Approval of
 9 Settlement.
10        The parties have conferred and, subject to the Court’s convenience, the
11 following dates are acceptable to both parties for oral argument: April 16, 22, 23,
12 24, or 28.
13        Respectfully submitted,
14
15 DATED: March 26, 2014               BONNETT, FAIRBOURN FRIEDMAN &
                                       BALINT, P.C.
16
17                                     s/ Patricia N. Syverson
                                       Elaine A. Ryan (Admitted pro hac vice)
18                                     Patricia N. Syverson (Bar No. 203111)
19                                     Lindsey Gomez-Gray (Admitted pro hac vice)
                                       2325 E. Camelback Road, Suite 300
20                                     Phoenix. Arizona 85016
                                       eryan@bffb.com
21                                     psyverson@bffb.com
22                                     lgomez@bffb.com
                                       Tel: (602) 274-1100
23                                     Fax: (602) 798-5860
24
                                       Manfred P. Muecke (222893)
25                                     600 W. Broadway, Suite 900
26                                     San Diego, California 92101
                                       mmuecke@bffb.com
27                                     Tel: (619) 756-7748
28                                     Fax: (602) 274-1199
                                JOINT REQUEST FOR ORAL ARGUMENT
Case 3:11-cv-01056-MDD Document 82 Filed 03/26/14 PageID.574 Page 3 of 4




 1
                                    STEWART M. WELTMAN, LLC
 2                                  Stewart M. Weltman (Admitted pro hac vice)
                                    53 W. Jackson , Suite 364
 3                                  Chicago, Illinois 60604
 4                                  sweltman@weltmanlawfirm.com
                                    Telephone: 312-588-5033
 5
 6                                  Jeffrey I. Carton (To be admitted pro hac vice)
                                    DENLEA & CARTON LLP
 7                                  One North Broadway, Suite 509
 8                                  White Plains, N.Y. 10601
                                    Telephone: (914) 920-7400
 9
10                                  Attorneys for Plaintiffs
11
                                    LATHAM & WATKINS LLP
12
                                     s/Kathleen P. Lally
13
                                    Mark S. Mester
14                                  Kathleen P. Lally
                                    233 South Wacker Drive, Suite 5800
15
                                    Chicago, Illinois 60606
16                                  Telephone: (312) 876-7700
                                    Facsimile: (312) 993-9767
17
18                                  Attorneys for Defendants
19
20
21
22
23
24
25
26
27
28
                             JOINT REQUEST FOR ORAL ARGUMENT
Case 3:11-cv-01056-MDD Document 82 Filed 03/26/14 PageID.575 Page 4 of 4




 1                            CERTIFICATE OF SERVICE
 2         I hereby certify that on March 26, 2014, I electronically filed the foregoing
 3 with the Clerk of the Court using the CM/ECF system which will send notification
 4 of such filing to the e-mail addresses denoted on the Electronic mail notice list. I
 5 hereby certify that I have mailed the foregoing document via the United States
 6 Postal Service to the non-CM/ECF participants indicated on the Manual Notice
 7 List.
 8         I certify under penalty of perjury under the laws of the United States of
 9 America that the foregoing is true and correct. Executed on March 26, 2014.
10
11                                   /s/Patricia N. Syverson
                                     Patricia N. Syverson (203111)
12                                   BONNETT FAIRBOURN FRIEDMAN &
13                                   BALINT
                                     2325 E Camelback Road, Ste. 300
14                                   Phoenix, AZ 85016
15                                   (602) 274-1100

16
17
18
19
20
21
22
23
24
25
26
27
28
                                 JOINT REQUEST FOR ORAL ARGUMENT
